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 5
     ATTORNEY FOR DEFENDANT
 6   KOUTKEO THI
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             )        CR.-S-08-391-GEB
11                                         )
         PLAINTIFF,                                 )    STIPULATION AND PROPOSED
12   ORDER
                                 )                  TO CONTINUE STATUS CONFERENCE
13         v.                    )                  TO SEPTEMBER 25, 2009
                                 )
14 KEOUDONE N. PHAOUTHOUM, )
   et al.,                       )
15                               )
           DEFENDANTS.           )
16 _______________________________)
17
           Plaintiff United States of America, by its counsel, Assistant United States
18
     Attorney, Mr. Michael M. Beckwith, and defendant Keoudone N. Phaouthoum by his
19
     attorney Mr. Steven Bauer, defendant Zi Lei, by his attorney, Mr. J. Clark Head,
20
     defendant John Li, by his attorney Mr. Johnny L. Griffin, III and defendant Koutkeo
21
     Thi, by her attorney Mr. James R. Greiner, hereby stipulate and agree that the status
22
     conference calendared for Friday, June 19, 2009, at 9:00 a.m. before the Honorable
23
     United States District Court Judge, Garland E. Burrell, Jr., may be continued to
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     Friday, September 25, 2009, at 9:00 a.m.
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           The Court’s courtroom deputy, Ms. Shani Furstenau, has been contacted to
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     ensure the Court’s calendar was available for that date and the Court is available on
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 1   Friday, September 25, 2009.
 2         There is no trial date set.
 3         The Court has previously made a finding that this case is complex pursuant to
 4   the Speedy Trial Act, Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2,
 5   which allowed the Court to make the finding that this case is so unusual or so
 6   complex, due to the number of defendants, the nature of the prosecution, or the
 7   existence of novel questions of fact or law, that it is unreasonable to expect adequate
 8   preparation for pretrial proceedings or the trial itself within the time limits established
 9   by the Speedy Trial Act. (See Docket Entries # 43, 52 and 69). In addition, the
10   Court previously found from the record made with factual support, that time is to be
11   excluded under local code T-4, that time is to be excluded for the reasonable time
12   necessary for effective preparation by defense counsel and Title 18 U.S.C. section
13   3161(h)(8)(B)(iv), of the speedy trial act. (See Docket Entries # 43, 52 and 69)
14                        PROCEDURAL STATUS OF THE CASE
15         On August 11, 2008, the government filed a criminal complaint. (See Docket
16   Entry #1). On August 28, 2008, the government filed a six (6) count Indictment
17   against the six (6) defendants. (See Docket Entry # 40)
18         On August 28, 2008, five (5) of the defendants were arraigned on the six (6)
19   count Indictment and a status conference was scheduled for November 7, 2008. (See
20   Docket Entry # 43)The Court found that this case is complex pursuant to the Speedy
21   Trial Act, Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2, which
22   allowed the Court to make the finding that this case is so unusual or so complex, due
23   to the number of defendants, the nature of the prosecution, or the existence of novel
24   questions of fact or law, that it is unreasonable to expect adequate preparation for
25   pretrial proceedings or the trial itself within the time limits established by the Speedy
26   Trial Act. (See Docket Entry 43). In addition, the Court previously found from the
27   record made with factual support, that time is to be excluded under local code T-4,
28                                               2
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 1   that time is to be excluded for the reasonable time necessary for effective preparation
 2   by defense counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the speedy trial
 3   act. Time was excluded under the Speedy Trial Act from August 28, 2008, to
 4   November 7, 2008. (See Docket Entry 43)
 5         On October 22, 2008, defendant De Yang (which would be the sixth defendant)
 6   was arraigned on the six (6) count Indictment. (See Docket Entry #52) The Court
 7   found that this case is complex pursuant to the Speedy Trial Act, Title 18 U.S.C.
 8   section 3161(h)(8)(B)(ii) and local code T-2, which allowed the Court to make the
 9   finding that this case is so unusual or so complex, due to the number of defendants,
10   the nature of the prosecution, or the existence of novel questions of fact or law, that it
11   is unreasonable to expect adequate preparation for pretrial proceedings or the trial
12   itself within the time limits established by the Speedy Trial Act. (See Docket Entry
13   43 and 52). In addition, the Court previously found from the record made with
14   factual support, that time is to be excluded under local code T-4, that time is to be
15   excluded for the reasonable time necessary for effective preparation by defense
16   counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the speedy trial act. Time
17   was excluded under the Speedy Trial Act from October 22, 2008, to November 7,
18   2008. (See Docket Entry 43 and 52)
19                          DISCOVERY STATUS IN THE CASE
20         The government is in the process of continuing to produce discovery in this
21   case. To date, the government has produce approximately over 4,700 pages both on
22   CD’s and hard copy and approximately over 2,000 telephone calls of various time
23   duration. The defense is in the continuing process of reviewing this large amount of
24   discovery.
25         In addition, investigation by the defense is on going.
26         Further, the defense is continually evaluating the case in light of other
27   defendants entering into plea deals with the government.
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 1         In addition, the review of the over 2,000 telephone calls continues and is
 2   continually being evaluated.
 3
 4         Finally, many of the defendants are in more than one indictment filed by the
 5   government and the complexity of multiple defendants in the multiple indictments,
 6   the complexity of the investigation based on multiple indictments, the complexity of
 7   the legal issues in the multiple indictments and the complexity of attempting to
 8   discuss with the government any type of resolution is complex due to the complexity
 9   of multiple indictments.
10                    SPEEDY TRIAL ACT EXCLUSION OF TIME
11         The parties stipulate and agree that time under the Speedy Trial Act shall
12   continue to be excluded up to and including Friday, September 25, 2009, under
13   the Speedy Trial Act under Local Code T-2 (complexity of case) and Title 18 U.S.C.
14   section 3161(h)(8)(B)(ii)and Local Code T-4 (time for defense counsel
15   preparation) and Title 18 U.S.C. section 3161(h)(8)(B)(iv).
16                                   Respectfully submitted,
                                     LAWRENCE G. BROWN
17                                   ACTING UNITED STATES ATTORNEY
18                                   /s/ Michael M. Beckwith by in person authorization
     DATED: 6-15-09                  _____________________________________
19                                   Michael M. Beckwith
                                     ASSISTANT UNITED STATES ATTORNEY
20
     DATED: 6-15-09                  /s/ Steve Bauer by e mail authorization
21                                   ______________________________________
                                     Steve Bauer
22                                   Attorney for Defendant Keoudone N. Phaouthoum
23   DATED 6-15-09                  /s/ J. Clark Head by telephone authorization
                                     ________________________________________
24                                   J. Clark Head
                                     Attorney for Defendant Zi Lei
25
     DATED: 6-15-09                  /s/ Johnny L. Griffin, III by e mail authorization
26                                   ________________________________________
                                     Johnny L. Griffin, III
27                                   Attorney for Defendant John Li
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 1   DATED: 6-15-09               /s/ James R. Greiner
                                  _______________________________________
 2                                James R. Greiner
                                  Attorney for Defendant Koutkeo Thi
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 4
                                        ORDER
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 7        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 9   Dated: June 16, 2009

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11                                    GARLAND E. BURRELL, JR.
12                                    United States District Judge

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